                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


DEIRDRE L. BOSTICK,                              )
                                                 )
                           Plaintiff,            )
                                                 )
             v.                                  )             1:18-CV-1042
                                                 )
CABARRUS COUNTY DEPARTMENT OF                    )
HEALTH AND HUMAN SERVICES,                       )
                                                 )
                           Defendant.            )


                                        JUDGMENT


      For the reasons set forth in an Order filed contemporaneously with this Judgement,

      IT IS HEREBY ORDERED AND ADJUDGED that Defendant’s Motion for

Summary Judgment, (ECF No. 26), is GRANTED and this action is DISMISSED.

      This, the 26th day of May 2022.



                                          /s/ Loretta C. Biggs
                                          United States District Judge




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